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    EXHIBIT 1
   SLIP SHEET
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    EXHIBIT 2
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    EXHIBIT 3
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       EXHIBIT 4
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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3      United States of America,      ) Criminal Action
                                       ) No. 21-cr-246-2
 4                        Plaintiff,   )
                                       ) JURY TRIAL
 5     vs.                             ) DAY 1
                                       )
 6     Edward Badalian,                ) Washington, DC
                                       ) March 1, 2023
 7                        Defendant.   ) Time: 9:30 a.m.
       ___________________________________________________________
 8
                         TRANSCRIPT OF JURY TRIAL
 9                              HELD BEFORE
                  THE HONORABLE JUDGE AMY BERMAN JACKSON
10                     UNITED STATES DISTRICT JUDGE
       ____________________________________________________________
11
                               A P P E A R A N C E S
12
       For Plaintiff:         Kimberly Paschall
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20     ____________________________________________________________

21     Court Reporter:              Janice E. Dickman, RMR, CRR, CRC
                                    Official Court Reporter
22                                  United States Courthouse, Room 6523
                                    333 Constitution Avenue, NW
23                                  Washington, DC 20001
                                    202-354-3267
24

25
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 1     examined and testified as follows:

 2                            DIRECT EXAMINATION

 3     BY MR. MARIANO:

 4     Q.   Good afternoon.     Could you please state and spell your name

 5     for the record.

 6     A.   Yes.   It's Gina, G-I-N-A.      My last name in B, as in boy, I,

 7     S, as in Sam, I-G-N-A-N-O.

 8     Q.   Where do you live?

 9     A.   I live in Beverly Hills, California.

10     Q.   How long have you lived there?

11     A.   I've had a business there for 14 years.         So I think -- I

12     believe I've lived there for six.

13     Q.   You mentioned having a business, what do you for work?

14     A.   I do beauty -- eyelash extensions, facials, styling.

15     Q.   Are you testifying today pursuant to a subpoena?

16     A.   I'm testifying, yes, from a subpoena.         Yes.

17     Q.   And do you understand that that subpoena requires you to

18     appear in court and to give testimony?

19     A.   Yes, I do understand that.

20     Q.   Ms. Bisignano, is it difficult for you to be testifying

21     today?

22     A.   I don't want to hurt anybody.        I just -- I'm just here to

23     tell the truth.     So it's a little difficult, yeah.

24     Q.   Has anyone reached out to you about your testimony in the

25     past few days?
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 1     A.   Just some girl, yes.

 2     Q.   Who is that?

 3     A.   Bryna Makowka.

 4     Q.   Does Bryna Makowka have any relationship that you know of

 5     with Ed Badalian?

 6     A.   She's in love with him.

 7     Q.   Do you know if they're in communication?

 8     A.   I -- not when -- when I was aware, I don't believe so.

 9     Q.   I would like to -- I'm not sure if the Elmo is on.

10                  THE COURT:   Ms. Bisignano, I know you have a soft

11     voice and these aren't easy things to talk about, but we do

12     need to get you a little closer to the microphone or have you

13     speak a little louder so we can all hear what you're saying.

14     Thank you.

15                  THE WITNESS:    Yes.   Okay.

16     BY MR. MARIANO:

17     Q.   I had the same issue yesterday.

18              I'm pulling up what has been marked as Government

19     Exhibit 607.     We've provided a copy to defense counsel this

20     afternoon.

21              Do you recognize Government Exhibit 607?

22     A.   Yes.

23     Q.   What is this?

24     A.   Just some of the threats I've been getting.

25     Q.   And who is this -- the message from?
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 1     A.    Bryna Makowka.

 2     Q.    At the top of Government Exhibit 607, it looks like it's a

 3     communication with an account BusyBee.          Who is BusyBee?

 4     A.    Bryna Makowka, just because she calls me from different

 5     numbers.

 6     Q.    And over what platform is this conversation taking place?

 7     A.    Yes, Twitter messaging.

 8     Q.    Can you read the message from Ms. Makowka at 6:01 a.m.?

 9     A.    "Selling out, lying about patriots to avoid jail, more like

10     it.   Have fun wearing an ankle bracelet and being on probation.

11     What a balding mess you are."

12     Q.    How do you respond to that?

13     A.    "I will show this -- the FBI.       This is tampering.      My looks

14     have nothing to do with a subpoena.         It's not against anyone,

15     it's just facts.      You can't lie to the FBI."       That's what I

16     meant to say, but I just --

17                 MR. MARIANO:     The United States moves to admit

18     Government Exhibit 607.

19                 THE COURT:    Any objection?

20                 MR. HELFEND:     No, Your Honor.

21                 THE COURT:    All right.     It will be admitted.

22     BY MR. MARIANO:

23     Q.    I'm showing you a document which is marked as Government

24     Exhibit 608.     Likewise, a copy of this was provided --

25                 THE COURT:    Before you read it to me, does the
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 1     defense have any objection to its admission?

 2                 MR. HELFEND:     No.

 3                 THE COURT:    All right.     So it will be admitted.    Go

 4     ahead.

 5     BY MR. MARIANO:

 6     Q.   Is this also a message from BusyBee over Twitter?

 7     A.   Yes.

 8     Q.   And that's Bryna Makowka?

 9     A.   Yes.

10     Q.   Can you read the message from Miss Makowka at 9:19 a.m.?

11     A.   "You need your church to pay your rent, so lying about Ed,

12     who never came to your house.        Disingenuous hag who thought she

13     was going to encourage men to become violent.           If the

14     prosecution argument holds any water, that means you should be

15     tried for all of the men that you encouraged to use weapons."

16     Q.   And how did you respond to that?

17     A.   "I will show the courts this."

18                 THE COURT:    I'm sorry, when were these received?

19                 MR. MARIANO:     That's a good question, Your Honor.        I

20     apologize for not asking that.

21     BY MR. MARIANO:

22     Q.   Let me go back to Government Exhibit 607.          Do you recall

23     what day this was sent?

24     A.   This morning.

25     Q.   Government Exhibit --
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 1      A.   Or, yesterday.

 2      Q.   -- 607, was this earlier this week?

 3      A.   Or yesterday, yes.     Just from different phone numbers.    But

 4      this is -- I didn't realize it was her at first, until Gabe

 5      told me -- somebody told me.

 6      Q.   Returning to Government Exhibit 608.        Do you know what day

 7      this is from?

 8      A.   I believe it's from yesterday -- oh, today.          Okay.

 9      Q.   Are these the only messages you've received regarding your

10      testimony?

11      A.   Oh, no.    No.

12      Q.   How has receiving these messages affected you?

13      A.   Well, I'm fighting for my life.        I just want to tell the

14      truth.   And it affects me because it makes me nervous because I

15      don't want any -- because I don't lie and I'm not lying and

16      it's not worth my life.      So I just don't like to be

17      misrepresented.

18      Q.   So I want to get to the substance of January 6th as quickly

19      as possible.    But before I do that, have you personally been

20      charged in connection with your conduct --

21      A.   I have.

22      Q.   -- at the Capitol on January 6th?

23      A.   I have.

24      Q.   And did you plead guilty to those charges?

25      A.   I pled guilty to the misdemeanors and I took back the
